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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA

v.                                                         Case No. 2:12-cr-12-07
                                                           HON. R. ALLAN EDGAR
Latif Janocko Bess,
                                        /

                             ORDER APPROVING AND ADOPTING
                              REPORT AND RECOMMENDATION


          The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the

parties, and no objections have been filed thereto within the time required by law.

          THEREFORE, IT IS ORDERED that:

          1. The Report and recommendation of the Magistrate filed 1/3/2013 #179, is

approved and adopted as the Opinion and Findings of this Court.

          2. Defendant Latif Janocko Bess’s plea of guilty to Conspiracy to Distribute and

Possess with Intent to Disrtribute 100 grams or more of a Mixture or Substance Containing

a Detectable Amount of Heroin is accepted. Defendant Latif Janocko Bess is adjudicated

guilty.

          3. A decision of whether to accept the written plea agreement will be made at the

time of sentencing after the Court has had the opportunity to review the Pre-sentence

Investigation Report. See U.S.S.G. Ch. 6.

          SO ORDERED.

          Dated: 1/24/2013

                                                       /s/ R. Allan Edgar
                                                              R. ALLAN EDGAR
                                                    UNITED STATES DISTRICT JUDGE
